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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


     MOBILITY WORKX, LLC.,                  4:23-cv-00594-ALM

          Plaintiff,                        JURY TRIAL DEMANDED

     v.

     AT&T INC., AT&T CORP., AT&T
     COMMUNICATIONS LLC, AT&T
     MOBILITY LLC, and AT&T SERVICES
     INC.,

          Defendants.



                               AT&T’S RESPONSIVE
                           CLAIM CONSTRUCTION BRIEF
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   J     C. Perkins, RFC 2002, IP Mobility Support (Oct. 1996)
   K     Kivisaari, “A Comparison Between Mobile IPv4 and Mobile IPv6”, Proceedings of
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   O     Declaration of James Proctor, M.S.E.E. (“Proctor Dec.”)
   O-1   Curriculum Vitae of James A. Proctor
   P     Sauter, UMTS Hard Handover, “From GSM to LTE-Advanced” (2014)
   Q     Rappaport, Wireless Communications: Principles and Practice (1996)
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 I.     INTRODUCTION

        Mobility Workx LLC (“Mobility”) asserts three patents against AT&T Corp., AT&T

 Mobility LLC, and AT&T Services Inc. (collectively, “AT&T”): U.S. Patent Nos. 8,213,417 (“the

 ’417 Patent”), 7,697,508 (“the ’508 Patent”), and 7,231,330 (“the ’330 Patent”) (collectively, the

 “patents-in-suit”).

        The ’417 and ’508 Patents share a common specification and disclose a method to

 minimize both delay and information loss that may occur when a mobile device (also referred to

 as a “mobile node”) moves from one network to another. Ex. B at 2:20-38. 1 According to the ’417

 and ’508 Patents, in “conventional systems,” the process of setting up a connection on the target

 network could not begin until the mobile node arrived in the predefined region of coverage of the

 target network. In contrast to these “conventional systems,” the ’417 and ’508 Patents propose a

 proactive and predictive solution using so-called “ghost” entities that perform the registration

 process on behalf of the mobile node before it arrives in the coverage area of the target network

 (also referred to as the “foreign agent”).

        The ’330 Patent relates to a network simulator designed to allow the wireless testing of

 mobile devices. According to the ’330 Patent, conventional wire-line emulators that existed at that

 time were not able to accurately model mobile networks, because they could not “account for

 characteristics of rapid mobility networks or complex signal propagation models.” Ex. C at 2:10-

 14. The ’330 Patent attempts to solve this problem by simulating movement of the mobile node by

 attenuating the signals transmitted and received between the mobile node and the “wireless

 network node,” or base station. Ex. C at 2:19-23.



 1
  For convenience, citations to common portions of the ’417 and ’508 Patents will be to the ’417
 Patent only.


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        AT&T’s constructions provide guidance as to how a person of ordinary skill in the art

 would have understood the disputed terms of the patents-in-suit. In contrast, Mobility advocates

 for a “plain and ordinary meaning” of many of the claim terms, but its briefing reveals that what

 Mobility considers to be the “plain and ordinary meaning” is often at odds with the specification

 of the patents as well as its prior positions and this Court’s prior claim construction orders.

 II.    BACKGROUND

        A.      Factual Background

                1.      The ’417 and ’508 Patents

        By July 2003, numerous 2G, 2.5G and 3G cellular networks had been standardized and

 implemented throughout the world, including GSM (2G), GPRS (2.5G), CDMA (2G and 3G), and

 UMTS (3G) cellular networks. The coverage area of a typical base station in conventional cellular

 networks was relatively large (approximately 1.5 km or more in diameter) compared to the

 coverage area of a typical Wi-Fi access point (on the order of 100 m outdoors and 20 m indoors).

 Moreover, the time to complete a link layer handover from one base station to another in the same

 cellular network was 200 ms (milliseconds) or less. Thus, within a particular cellular network, the

 set-up time (or handover time) was much smaller than the typical “dwell time” in a cell—meaning

 the time that a mobile device spends in the coverage area of a base station as it moves through the

 network. For example, even at 200 km/h (~124 mph), the dwell time in a 1.5 km cell would be 27

 seconds. Proctor Dec., ¶ 38.

        Because the handover times were short, there were no issues in conventional cellular

 systems when registering a mobile node to a new base station and resources were allocated

 reactively. That is, a mobile node took actual measurements of the signals it directly received from

 the base stations in the current and neighboring cells and reported the measurements to the cellular

 network. Thereafter, the cellular network equipment made a handover decision and initiated a


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 handover on behalf of the mobile node based in part on “reacting” to such measurements. These

 systems did not proactively predict a future location of the mobile node and did not (and could

 not) register a mobile node to a neighboring cell when the mobile node was outside the coverage

 area of the cell. That remains true today.

        In the cellular handover procedures used in the prior art cellular networks to the ’417 and

 ’508 Patents, the mobile node would determine whether the received signals within the current and

 neighboring cells were strong enough to maintain a call or data connection, and whether any

 neighboring cell’s signal was stronger than the current cell’s signal by a specified amount. It could

 do this because cell coverages overlapped. Thus, the mobile node would be perceiving the

 coverage from each cell with a different signal strength. If a neighboring cell signal was strong

 enough to make a connection and sufficiently better than the current cell signal, a handover would

 take place, assuming there was capacity on the new cell to handle the new connection. Moreover,

 when that handover did occur in the prior art cellular networks, the mobile node would not need

 to change its IP address, nor would the data need to be routed through the network node serving

 the prior location of the mobile device. The prior art cellular networks were different in this regard

 than the internet protocols that existed at the time of the ’417 and ’508 Patents, such as the Internet

 Protocol version 4 (“IPv4”). “Mobile IPv4,” which was in existence when the asserted patents

 were filed, provided a mechanism for mobility within the framework of an IPv4 system. Mobile

 Ipv4 operates by setting up the analog of a mail forwarding system, which presents significant

 challenges for “real-time” mobility such as handing over from one wireless access point to another

 while in a fast-moving vehicle. Proctor Dec., ¶ 31.

        In contrast to the reactive handoff procedure used in the prior art cellular networks, the

 ’417 and ’508 Patents propose a proactive and predictive solution using so-called “ghost” entities




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 that perform the registration process on behalf of the mobile node before it arrives in the coverage

 region of the target network (also referred to as the “foreign agent”). There appears to be no dispute

 in this respect; Mobility’s technology tutorial repeatedly states that the proactive and predictive

 nature of its claims—meaning the ability to pre-register the mobile device before it arrives in the

 target cell’s coverage area—is the hallmark feature of its invention. That aspect of the claimed

 invention pervades the proper constructions for many of the disputed terms. Proctor Dec., ¶ 41.

                2.      The ’330 Patent

        Separate and unrelated to the ’417 and ’508 Patents, the ’330 Patent attempts to solve the

 problem of accurately modeling rapid mobility networks by simulating movement of the mobile

 node through attenuation of the signals transmitted and received between the mobile node and the

 wireless network node. Ex. C at 2:19-23. Incident to simulating movement of the mobile node, the

 system of the ’330 Patent is able to analyze and compare the strength of the signal received with

 the data throughput, and “[s]uch an analysis can reveal hand-off rates between the wireless nodes.”

 Ex. C at 7:22-26; see also Ex. C at 9:22-25.

        In other words, the ’330 Patent is directed to a system for simulating a mobile node’s

 movement from one coverage area to another to wirelessly test the hand-off rate and hand-off

 performance of the wireless network nodes. Movement of the mobile node through the coverage

 areas is simulated through attenuation of the wirelessly transmitted signals.




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           B.      Procedural Background

           Several terms of the Asserted Patents have been construed previously in three separate

 cases: the Motorola Case2, the T-Mobile Case3, and the Verizon Case4, with two of those three

 cases filed in this Court.

                   1.      The Motorola Case and Claim Construction Order

           On May 16, 2013, University of Florida Research Foundation, Inc. and Rapid Mobile

 Technologies, Inc. (prior parties-in-interest to the Asserted Patents), filed a Complaint in the

 Southern District of Florida against Motorola asserting claims for infringement of the ’330 Patent.

 Motorola Case at Dkt. 1.

           On February 19, 2014, the Court in the Motorola Case entered a Claim Construction Order

 construing certain terms of ’330 Patent. Motorola Case at Dkt. 94 (Ex. D, the “Motorola Order”).

 Specifically, the Court entered the following constructions pertinent to this brief:

                         Term                                   Court’s Construction
     “wireless” (’330 Pat., all asserted claims)    “without wires or cables, and only through air
                                                    or vacuum”
     “mobile node configured to wirelessly “a device that sends and receives signals
     communicate” / “mobile node wirelessly wirelessly”
     communicates” (’330 Pat., Cls. 1, 11, and 20)
     “wireless access point” (’330 Pat., Cls. 5, 6, “device that communicates a wireless protocol
     and 14)                                        signal wirelessly”
     “wireless network nodes” / “wireless nodes” “an element of a network that sends and
     (’330 Pat., all asserted claims)               receives signals wirelessly”

 2
   University of Fla. Res. Found. Inc. et al. v. Motorola Mobility, LLC, No. 13-cv-61120-KMM
 (S.D. Fla.) (the “Motorola Case”). In this case, the University of Florida was the patentee, but the
 patents were assigned to a company called Rapid Mobile Technologies, Inc., which was a party to
 the case. Just like Mobility, Rapid Mobile Technologies, Inc. was owned by Drs. Hernandez and
 Helal.
 3
  Mobility Workx, LLC v. T-Mobile US, Inc., et al., No. 4:17-cv-567-ALM (E.D. Tex.) (the “T-
 Mobile Case”).
 4
  Mobility Workx, LLC v. Cellco P’ship d/b/a Verizon Wireless et al., No. 4:17-cv-872-ALM (E.D.
 Tex.) (the “Verizon Case”).



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  “a packet-based wired communications “a communications network in which packets
  network” (’330 Pat., Cls. 1, 11, and 20)         of data are transmitted through wires or
                                                   cables”
  “attenuator” / “attenuation” (’330 Pat., Cls. 5- “a device that can increase or decrease the
  8, 14, 17-19, 21)                                level of a signal”
  “antenna” (’330 Pat., Cls. 5, 10, 14)            “an     electrical device    that   radiates
                                                   electromagnetic waves wirelessly”

        Thereafter, the parties entered into a settlement agreement following Court-ordered

 mediation on May 28, 2014, and the case was dismissed. Motorola Case at Dkts. 158, 163.

                2.      The T-Mobile Case and Claim Construction Order

        On August 14, 2017, Mobility Workx filed a Complaint in the Eastern District of Texas

 (Sherman Division) against T-Mobile asserting claims for infringement of the ’508 and ’417

 Patents. T-Mobile Case at Dkt. 1.

        On July 31, 2018, this Court entered a Claim Construction Order in the T-Mobile Case

 construing certain terms of ’508 and ’417 Patents. T-Mobile Case at Dkt. 48 (Ex. E, the “T-Mobile

 Order”). Specifically, the Court entered the following constructions pertinent to this brief:

                      Term                                       Court’s Construction
  “ghost mobile node” (’508 Pat., Cls. 1, 2; ’417 “a node, or a virtual node, that can operate on
  Pat., Cls. 1, 4, 7)                               behalf of the mobile node and that is capable
                                                    of registering with a foreign agent and
                                                    allocating resources for the mobile node before
                                                    the mobile node arrives in the physical area
                                                    covered by the foreign agent”
  “foreign agent” (’508 Pat., Cls. 1, 5; ’417 Pat., “a network node on a visited network that
  Cls. 1, 4, 7)                                     assists the mobile node in receiving
                                                    communications”
  “ghost-foreign agent” (’508 Pat., Cls., 1, 5; “a virtual node corresponding to a foreign
  ’417 Pat., Cl. 1)                                 agent that can make a mobile node aware of the
                                                    corresponding foreign agent’s presence in a
                                                    communication network proximate to the
                                                    predicted future location of the mobile node”
  “geographical current state” (’508 Pat., Cl. 1) “coverage area of an agent through which the
                                                    mobile node is linked to the network at its
                                                    current location”
  “[predicted] geographical future state(s)” “coverage             area,    within    a    wireless
  (’508 Pat., Cl. 1)                                communications network, in which the mobile


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                                               node is predicted to be able to be linked to the
                                               wireless communications network at a time in
                                               the future”
  “when the mobile node is located in a “when the mobile node is located outside of the
  geographical area where the foreign agent is region covered by the foreign agent”
  not physically present” (’417 Pat., Cl. 1)

        This Court also construed the term “means for registering said ghost mobile node or mobile

 node with the associated ghost foreign agent or foreign agent, while the mobile node remains in

 the geographical current state” from claim 1 of the ’508 Patent as a means-plus-function term

 under 35 U.S.C. § 112, ¶ 6 lacking corresponding structure from the specification, thus rendering

 the term indefinite. T-Mobile Order (Ex. E) at 48.

        Shortly after the Court issued the Claim Construction Order in the T-Mobile Case, the

 parties settled, and the case was dismissed. T-Mobile Case, Dkts. 67, 68.

                3.     The Verizon Case and Claim Construction Order

        Nearly concurrently with the T-Mobile Case, on December 19, 2017, Mobility Workx filed

 a Complaint in the Eastern District of Texas (Sherman Division) against Verizon asserting claims

 for infringement of the ’508, ’417, and ’330 Patents. Verizon Case at Dkt. 1.

        After the Claim Construction Order invaliding certain claims of the ’508 Patent issued in

 the T-Mobile Case, the Verizon Case was limited to the ’417 Patent and the ’330 Patent. On March

 15, 2019, this Court entered a Claim Construction Order in the Verizon Case construing certain

 terms of ’417 and ’330 Patents. Verizon Case at Dkt. 74 (Ex. F, the “Verizon Order”). Specifically,

 the Court entered the following constructions pertinent to this brief, in addition to certain

 constructions that were agreed-upon:

                      Term                                Court’s Construction
  “when the mobile node is located in a “when the mobile node is located outside of the
  geographical area where the foreign agent is region covered by the foreign agent”
  not physically present” (’417 Pat., Cl. 1)




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        The Verizon Case was poised to proceed to trial in late 2019 when the Patent Trial and

 Appeal Board issued an order invalidating the asserted claims of the ’417 Patent. Verizon Case at

 Dkt. 191. That order was ultimately affirmed by the Federal Circuit. The Verizon Case thereafter

 was poised to proceed to trial on the ’330 Patent alone. Verizon Case at Dkt. 203. Prior to trial, the

 Court issued orders on pending motions, and shortly thereafter, the parties settled, and the case

 was dismissed. Verizon Case at Dkts. 248, 249.

 III.   MOBILITY IS JUDICIALLY ESTOPPED FROM ADVANCING NEW
        CONSTRUCTIONS FOR SEVERAL TERMS

        Mobility advances constructions for numerous terms that it previously submitted to this

 Court as agreed-upon constructions. Mobility is judicially estopped from arguing for new or

 modified constructions for these terms.

        In a patent suit, judicial estoppel “is applied in accordance with the law of the regional

 circuit as opposed to Federal Circuit law.” Novo Nordisk A/S v. Bio-Tech. Gen. Corp., Ltd., No.

 Civ.A 02-332-SLR, 2003 U.S. Dist. LEXIS 10098, 2003 WL 21383717, at *2 (D. Del. June 9,

 2003). “The doctrine of judicial estoppel . . . prevent[s] a party from asserting a position in a legal

 proceeding that is inconsistent with a position taken in a previous proceeding.” Love v. Tyson

 Foods, Inc., 677 F.3d 258, 261 (5th Cir. 2012). In determining whether to apply judicial estoppel,

 it is helpful to consider whether: “(1) the party against whom judicial estoppel is sought has

 asserted a legal position which is plainly inconsistent with a prior position; (2) a court accepted

 the prior position; and (3) the party did not act inadvertently.” Id.

        For the following terms, Mobility now advances constructions that are different than the

 constructions it previously advocated for and convinced this Court to adopt:

               “a/the ghost mobile node” (’508 and ’417 Patents)

               “the ghost foreign agent” (’508 and ’417 Patents)



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                “geographical current state” (’508 Patent)

                “wireless” (’330 Patent)

                “wireless network nodes”/“wireless nodes” (’330 Patent)

                “mobile node configured to wirelessly communicate”/“mobile node wirelessly

                 communicates” (’330 Patent)

                “a packet-based wired communications network” (’330 Patent)

         It is beyond dispute that, in the prior cases, Mobility represented to the Court that it agreed

 to the proposed constructions for each of these terms. See Verizon Case, Dkt. 68 (Ex. M, the

 “Verizon Case JCCC”); T-Mobile Case, Dkt. 38 (Ex. N, the “T-Mobile Case JCCC”). And, in this

 Court’s prior claim construction orders, it indicated that it adopted these constructions based on

 the parties’ representation that they were agreed-upon. Verizon Order (Ex. F) at 6; T-Mobile Order

 (Ex. E) at 21. Finally, there was nothing inadvertent about Mobility’s prior positions; it

 affirmatively agreed—sometimes in multiple cases—that these terms should be given the

 constructions it now wishes to change. Mobility is judicially estopped from advancing these new

 and/or modified constructions, and the Court need not revisit its prior constructions for these terms

 in this case.

 IV.     THE ’508 AND ’417 PATENT TERMS

                 1.     “a ghost mobile node” (’508 claims 7, 8, 11-15; ’417 claims 1, 3, 6)

     Mobility’s Proposed Construction                  AT&T’s Proposed Construction
  “a node, or a virtual node, that can operate “a node, or a virtual node, that can operate on
  on behalf of the mobile node”                behalf of the mobile node and that is capable of
                                               registering with a foreign agent and allocating
                                               resources for the mobile node before the mobile
                                               node arrives in the physical area covered by the
                                               foreign agent”




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        This Court analyzed this term in detail in the T-Mobile Case and should adopt its prior

 reasoning and conclusion. Specifically, this Court concluded:

        Thus, on balance, the patentee definitively stated that “[t]he ghost mobile node is
        capable of registering and allocating communication resources before the mobile
        node physically arrives in a geographical state.” (Id. (emphasis omitted); see, e.g.,
        Omega Eng’g, 334 F.3d at 1324 (“As a basic principle of claim interpretation,
        prosecution disclaimer promotes the public notice function of the intrinsic evidence
        and protects the public’s reliance on definitive statements made during
        prosecution.”); Typhoon Touch Techs., Inc. v. Dell, Inc., 659 F.3d 1376, 1381 (Fed.
        Cir. 2011) (“The patentee is bound by representations made and actions that were
        taken in order to obtain the patent.”)). This understanding is consistent with the
        above-reproduced disclosures, particularly in the Summary of the Invention.

 T-Mobile Order (Ex. E) at 13. The Court was correct, which is why Mobility subsequently

 advocated for this construction in the Verizon Case. Verizon Order (Ex. F) at 6. Because the Court

 was correct—and because Mobility is judicially estopped—the Court should adopt its prior

 construction.

                 2.     “the ghost foreign agent” (’508 claim 14; ’417 claims 1, 6)

     Mobility’s Proposed Construction                   AT&T’s Proposed Construction
  “a node, or a virtual node, corresponding     “a virtual node corresponding to a foreign agent
  to a foreign agent that can make a mobile     that can make a mobile node aware of the
  node aware of the corresponding foreign       corresponding foreign agent’s presence in a
  agent’s presence in a communication           communication network proximate to the
  network proximate to the predicted future     predicted future location of the mobile node”
  location of the mobile node”

        The Court analyzed this term in detail in the T-Mobile Case and should adopt its prior

 reasoning and conclusion. Specifically, the Court concluded:

        At first blush, this disclosure of how a ghost-foreign agent “can be configured”
        might be read as referring to merely one possible implementation. In context,
        however, this statement regarding the “present invention,” which appears in the
        Summary of the Invention, amounts to a disclosure of what the ghost-foreign agent
        necessarily can do. In other words, in light of this context, the patentee set forth this
        functionality as a required capability. See, e.g., VirnetX, Inc. v. Cisco Sys., Inc., 767
        F.3d 1308, 1318 (Fed. Cir. 2014); C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d
        858, 864 (Fed. Cir. 2004) (“Statements that describe the invention as a whole, rather
        than statements that describe only preferred embodiments, are more likely to
        support a limiting definition of a claim term. . . . Statements that describe the


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           invention as a whole are more likely to be found in certain sections of the
           specification, such as the Summary of the Invention.”).

 T-Mobile Order (Ex. E) at 19. The Court was correct, which is why Mobility subsequently

 advocated for this construction in the Verizon Case. Verizon Order (Ex. F) at 6. Because the Court

 was correct—and because Mobility is judicially estopped—the Court should adopt its prior

 construction.

                  3.     “geographical current state” (’508 claims 7, 14)

     Mobility’s Proposed Construction                   AT&T’s Proposed Construction
  Plain and ordinary meaning                    “coverage area of an agent through which the
                                                mobile node is linked to the network at its current
                                                location”

           This is Mobility’s third proposed construction for this term, and is different than the

 meaning it previously stipulated to and which the Court adopted based on that stipulation.

 Compare T-Mobile Order (Ex. E) at pp. 20 (first construction), 21 (later-agreed construction) with

 Brief at 4 (plain and ordinary construction). AT&T’s construction is the same as the Court

 previously adopted, and should be adopted in this case.

           Although Mobility’s new claim construction position is “plain and ordinary meaning,” it

 only quibbles with the use of the phrase “coverage area” to explain “geographical…state” in the

 Court’s prior construction through the exclusive reliance on extrinsic evidence supplied by the

 inventors. The inventors—who are also the principals of Mobility with a direct interest in the

 outcome of this case—are mistaken.

           The specification does not use the term “geographical.” This term was first introduced in

 the amended claims of the Office Action Response dated April 6, 2009, where the applicants

 stated:

           An estimated location of the mobile node based on GPS data can be utilized along
           with trajectory and speed information of the mobile node to predict the future
           geographical state. … The ghost mobile node is capable of registering and


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          allocating communication resources before the mobile node physically arrives in a
          geographical state.

 Ex. G (emphasis in the original). The concept of predicting future states is discussed in various

 portions of the specification. The specification consistently explains that the state of a given mobile

 is based upon the coverage area:

          “The future state can be a physical state such as the location of the mobile node
          250, and the prediction can be the time that the mobile node will be in the
          predefined region served by the foreign agent 215.” 508 Patent (Ex. A) at 6:39-
          43.5

          “With conventional systems and devices, the setting up typically must await the
          arrival of the mobile node in the predefined region of coverage for the foreign
          agent to which the mobile node is to be handed off.” 508 Patent (Ex. A) at 2:29-
          33.

          “The ghost-foreign agent can thus make a mobile node aware of a corresponding
          foreign agents presence in a communication network before the mobile node
          actually arrives in the physical region covered by the foreign agent. Accordingly,
          the ghost-mobile node and the ghost-foreign agent, operating either individually or
          jointly, can cause network communication resources to be allocated preemptively
          rather than passively as in conventional communications networks in which
          handoffs typically only follow an exchange of setup information following a mobile
          node’s arrival in the physical region covered by the foreign agent.” 508 Patent
          (Ex. A) at 4:3-14.

 See also Proctor Dec., ¶¶ 53-56.

          Finally, Mobility previously proposed that the term “predicted geographical future state”

 should be construed to include “coverage area(s)” and that its construction “reflects the clear

 teaching of the specification.” T-Mobile Order (Ex. E) at 22. Mobility’s prior position is consistent

 with the specification, AT&T’s current construction, and the Court’s prior construction. The Court

 should adopt its prior construction for this term.




 5
     All emphasis added unless otherwise noted.



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                4.      “predicted geographical future state(s)” (’508 claims 7, 14)

     Mobility’s Proposed Construction                  AT&T’s Proposed Construction
  Plain and ordinary meaning                   “coverage     area,    within     a     wireless
                                               communications network, in which the mobile
                                               node is predicted to be able to be linked to the
                                               wireless communication network at a time in the
                                               future”

        Again, this is Mobility’s third proposed construction for this term, T-Mobile Order (Ex. E)

 at 22, and Mobility’s Brief does not offer any arguments distinct from its arguments for

 “geographical current state.” For the reasons set forth above, and for the reasons set forth in this

 Court’s previous Order (T-Mobile Order (Ex. E) at 22-25), the Court should adopt its prior

 construction for this term.

                5.      “correspondent node” (’508 claims 11, 17)

     Mobility’s Proposed Construction                 AT&T’s Proposed Construction
  Plain and ordinary meaning                   “a node, other than the home agent, in a home
                                               network capable of receiving communications
                                               from other network nodes”

        AT&T agrees that this term should be given its plain and ordinary meaning, and thus, no

 dispute remains as to this term.

                6.      “when the mobile node is located in a geographical area where the
                        foreign agent is not physical present” (’417 claim 1)

    Mobility’s Proposed Construction                   AT&T’s Proposed Construction
  Same as Defendants                           “when the mobile node is located outside of the
                                               region covered by the foreign agent”

        Mobility now agrees to AT&T’s proposed construction (Brief at 6), and thus the Court

 should enter AT&T’s proposed construction as an agreed-upon construction.

                7.      “tunnel” (’417 claim 3)

     Mobility’s Proposed Construction                  AT&T’s Proposed Construction
  Plain and ordinary meaning                   “a data path for transmitting data intended for use
                                               only within a private network through a public
                                               network such that the public routing nodes are


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                                                unaware that the transmission is part of a private
                                                network”

         The specification provides a very specific and explicit definition of this term that clarifies

 its use in the ’417 Patent. AT&T proposes that the Court adopt the patentee’s definition at the time

 they wrote the ’417 Patent—not the competing definitions that they provide now in the context of

 litigation.

         The specification clearly explains what a tunnel is and how it is used for tunneling:

         As used herein, tunneling refers to the transmission of data intended for use only
         within a private, such as a corporate, network through a public network wherein
         the transmission is performed in such a way that the routing nodes in the public
         network are unaware that the transmission is part of a private network. Tunneling
         is generally performed by encapsulating the private network data and protocol
         information within the public network transmission units so that the private
         network protocol information appears to the public network as data. Tunneling
         allows the use of the Internet, which is a public network, to convey data on behalf
         of a private network. Common examples of tunneling techniques can include, but
         are not limited to, Point-to-Point Tunneling Protocol (PPTP) and generic routing
         encapsulation (GRE). Still, any of a variety of different tunneling techniques can
         be used.

 ’508 Patent (Ex. A) at 5:55-6:2. The specification uses the explicit definition language “as used

 herein” to set off its definition of tunnels. See ParkerVision, Inc. v. Vidal, 88 F.4th 969, 976 (Fed.

 Cir. 2023) (“The patentee’s use of the phrases ‘as used herein’ and ‘refer to’ conveys an intent for

 sentence 5 to be definitional.”); Intercept Pharms., Inc. v. Apotex Inc., C.A. No. 20-1105, 2022

 U.S. Dist. LEXIS 51961, *11 (D. Del. Mar. 23, 2022) (“Moreover, the phrase ‘as used herein’ has

 been recognized as definitional in a wide host of Federal Circuit and district court cases.”). That

 definition explains that tunnels are used to transmit private data over a public network such that

 the public nodes are unaware of the contents of the tunnel. That concept is captured in AT&T’s

 proposed construction, using clear definitional language set forth in the specification.

         Mobility criticizes AT&T’s proposed construction by suggesting that it “comes from a

 different part of the specification that discusses the act of tunneling, not tunnels.” Brief at 8. This


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 is not a credible distinction; there is no question that “tunneling” is accomplished with “tunnels,”

 and Mobility does not suggest otherwise. Moreover, nothing in the intrinsic evidence cited by

 Mobility—which merely uses the word “tunnel(s)” following the definitional statement provided

 earlier in the specification—is in any way inconsistent with the definition provided in the

 specification and proposed by AT&T. Finally, the ipse dixit of Mobility’s inventors/owners is

 unreliable extrinsic evidence that cannot overcome the definitional statements in the specification.

 AT&T’s proposed construction should be adopted.

                 8.      “wherein signaling further comprises at least one of a tunnel and a
                         communication network” (’417 claim 3)

     Mobility’s Proposed Construction                     AT&T’s Proposed Construction
  Plain and ordinary meaning                      Indefinite

         This term is indefinite because it fails to inform one of ordinary skill in the art as to the

 scope of the invention. There are two issues for the Court to consider with this claim; one is

 solvable, the other is not.

         The first question is how one of ordinary skill in the art would understand the phrase “at

 least one of a tunnel and a communication network”: is it one of either or one of both? The Federal

 Circuit resolved this question. In SuperGuide Corp. v. DirecTV Enterprises, Inc., the Federal

 Circuit concluded that when “[t]he phrase ‘at least one of’ precedes a series of categories of

 criteria, and the patentee used the term ‘and’ to separate the categories of criteria…[the phrase]

 require[es] that the user select at least one value for each category.” 358 F.3d 870, 886 (Fed. Cir.

 2004). Applying this ruling to this term, the claim requires “wherein signaling further comprises

 at least one of a tunnel and at least one of a communication network.” And although Mobility

 incorrectly casts this as a “typographical error,” it appears that the parties are largely in agreement

 with this aspect of the disputed construction.




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        The second question, however, cannot be resolved: what does “wherein signaling further

 comprises . . . at least one of a communication network”? It is axiomatic that “[i]n the patent claim

 context the term ‘comprising’ is well understood to mean ‘including but not limited to.’” CIAS,

 Inc. v. Alliance Gaming Corp., 504 F.3d 1356, 1360 (Fed. Cir. 2007). The claim would thus be

 understood to require “wherein signaling further includes but is not limited to . . . at least one of a

 communication network.” The “signaling” referred to in this claim—claim 3 which depends on

 claim 1—is the “signaling required to allocate resources and initiate mobility on behalf of the

 mobile node” that is performed by the “ghost-mobile node” in claim 1. A person or ordinary skill

 in the art would not understand what it means for the “signaling required to allocate resources and

 initiate mobility on behalf of the mobile node” to “include but not be limited to . . . at least one of

 a communication network.” Proctor Dec., ¶¶ 57-58. A “communication network” is not

 “signaling,” it is a network over which signals may be transmitted. Id. Indeed, the remainder of

 claim 3 requires that the “signaling”—which must include at least one of a “communication

 network”—is “triggered at a threshold distance to one of the foreign agents.” A person of ordinary

 skill in the art would not understand how a “communication network” could be a “signal” or how

 a “communication network” could be “triggered.” Id. As a result, this claim is indefinite.

                9.      “care-of address” (’417 claim 6)

     Mobility’s Proposed Construction                  AT&T’s Proposed Construction
  Plain and ordinary meaning                    “an IP address that changes as the mobile node
                                                moves between networks”

        The term “care-of address” has a generally understood meaning in a non-technical context;

 when a party mails a package to a “care-of address”—typically abbreviated as a “c/o” address—it

 means that the package is being sent to an addressee that is accepting the package on behalf of

 someone who only temporarily resides at that location. If the intended recipient moves again, the




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 “care-of address” will change as it moves from location to location. The usage of “care-of address”

 in the ’417 Patent is similar, as it describes an “IP address that changes as the mobile node moves

 between networks,” as AT&T proposes.

        The specification explains what a “care-of address” is in the context of the ’417 Patent:

        The care-of address changes as the mobile node moves between networks
        thereby changing its point of attachment to a network. When the mobile node
        links to a network other than one in which the home agent resides, the mobile node
        is said to have linked to a foreign network. The home network provides the mobile
        node with an IP address and once the node moves to a foreign network and
        establishes a point of attachment, the mobile node receives a care-of address
        assigned by the foreign network.

 ’417 Patent (Ex. B) at 1:47-56. The specification makes clear that, in the context of this patent, the

 “care-of address” is the temporary IP address where the mobile node can be reached as it moves

 into a foreign network. This concept is reflected in AT&T’s proposed construction.

        Mobility cites to two passages from the specification to argue that those passages do not

 require the care-of address to change as the mobile node moves between networks. Brief at 10.

 AT&T agrees that those two passage do not, by themselves, require this, but that is simply because

 they say almost nothing about what the “care-of address” is. In contrast, the portion of the

 specification that explains what a “care-of address” is—which is cited above and which forms the

 basis for AT&T’s proposed construction—makes clear that it is an address that changes as the

 mobile node moves between networks. The Court should adopt AT&T’s proposed construction.

                10.     “mobile IP advertisement messages” (’417 claim 6)

     Mobility’s Proposed Construction                   AT&T’s Proposed Construction
  Plain and ordinary meaning                    Indefinite

        This term is indefinite because one of ordinary skill in the art would not understand what

 is meant by this phrase. The phrase “mobile IP advertisement message” does not appear anywhere

 in the specification, and has no regularly understood meaning to one of ordinary skill in the art. A



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 person of skill in the art is thus left to guess—without any guidance from the ’417 Patent itself—

 as to what this term may mean. As such, the claim fails to inform a person of ordinary skill in the

 art what the patentee considers to be the scope of the invention, and it is invalid. Proctor Dec.,

 ¶¶ 59-60.

        Mobility’s efforts to salvage the validity of this term only highlight its problems. Mobility

 states that “[t]he specification describes that an ‘advertisement’ is merely a ‘message’ that typically

 include IP addresses for foreign agents. This is also the plain and ordinary meaning of this phrase.”

 Brief at 12. Mobility’s explanation of the meaning of this term strips it of meaning; because

 Mobility does not suggest that the message must include “IP addresses for foreign agents,” the

 plain and ordinary meaning Mobility ascribes to the phrase “mobile IP advertisement messages”

 is simply “messages.” Mobility cannot preserve the validity of this vague and meaningless term

 by rewriting the claim to eliminate the problematic words. Mobility also cites to the declaration of

 Dr. Hernandez—the inventor and co-owner of Mobility—to suggest that “mobile IP advertisement

 messages corresponds to the ICMP Standard.” Brief at 12 (internal quotes omitted). This statement

 is effectively meaningless; the “ICMP Standard” that Dr. Hernandez references is, according to

 Dr. Hernandez, the ICMP Router Discovery standard/specification. Hernandez Dec., ¶¶ 49-50.

 That document is not incorporated by reference into the ’417 Patent, nor does Dr. Hernandez even

 offer it as an attachment. The Court can, and should, disregard Mobility’s confusing efforts to

 explain away an indefinite claim term.

 V.     THE ’330 PATENT

                1.      “wireless” (claims 1–19)

     Mobility’s Proposed Construction                  AT&T’s Proposed Construction
  Plain and ordinary meaning                    “without wires or cables, and only through air or
                                                vacuum”




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        The Motorola court analyzed this term in detail and adopted the same construction that

 AT&T proposes. Motorola Order (Ex. D) at 3-4. Moreover, Mobility agreed in the Verizon Case

 that the term “wireless” should be construed as “without wires or cables, and only through air or

 vacuum.” Verizon Case JCCC (Ex. M) at 10. This Court adopted that construction on the basis of

 Mobility’s representation, thus Mobility is judicially estopped from advocating for a different

 construction. See Verizon Order (Ex. F) at 7.

        Setting that aside, however, it is beyond reasonable dispute that “wireless” means “without

 wires or cables, and only through air or vacuum.” Proctor Dec., ¶¶ 61-62. Mobility does not

 seriously challenge this, but instead throws up straw man arguments and tries to walk back its prior

 construction. AT&T is not taking the position that a “wireless network” must not have any wires

 anywhere in the network, nor is it suggesting that a “wireless node” cannot connect to anything

 using wires. A “wireless network” is one where the connection between the mobile device and the

 network is “wireless,” meaning without wires or cables, and only through air or vacuum. A

 “wireless node” is a node that communicates with a mobile device via a wireless interface, meaning

 without wires or cables, and only through air or vacuum. It strains credulity for Mobility to suggest

 that AT&T is going to argue that if there is a wire anywhere in a “wireless” network then there is

 no infringement. Brief at 13.

        That notwithstanding, the Court should appreciate what Mobility is attempting to do: it

 wants to be able to argue that a “wireless” connection exists when the two elements are hardwired

 to one another. Mobility’s “plain and ordinary meaning” is a “camel’s nose” that is intended to

 allow it to argue that a wired connection is “wireless” because it uses a “wireless protocol.”

 Mobility’s brief previews this when it argues that “a ‘wireless’ signal is merely one with a

 particular radio frequency and can be emulated in a wired system.” Brief at 14. In other words,




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 Mobility’s understanding of the “plain and ordinary” meaning of wireless sweeps wired

 connections into the literal meaning of “wireless.” It is inconceivable that the plain and ordinary

 meaning of a word can encompass its antonym. The Court should adopt the construction that

 AT&T—and previously Mobility—advocates.

                2.      “wireless network nodes”/“wireless nodes” (claims 1, 2, 5, 9, 11, 14–
                        16)

     Mobility’s Proposed Construction            AT&T’s Proposed Construction
  “an element of a wireless network that “an element of a network that sends and receives
  sends and receives signals”            signals wirelessly”

        The Motorola court analyzed this term in detail and adopted the same construction that

 AT&T proposes. Motorola Order (Ex. D) at 5-6. In addition, Mobility agreed in the Verizon Case

 that the term should be given the construction that AT&T proposes. Verizon Case JCCC (Ex. M)

 at 11. This Court adopted that construction on the basis of Mobility’s representation, thus Mobility

 is judicially estopped from advocating for a different construction. See Verizon Order (Ex. F) at 7.

        The term “wireless network node” does not appear in the specification of the ’330 Patent,

 but the term “wireless nodes” does. Both parties agree that these terms should be given the same

 construction, and the parties further agree that “node” means “an element of a network that sends

 and receives signals.” The only dispute is what “wireless” modifies. The specification makes it

 abundantly clear that the “wireless nodes” wirelessly communicate with the mobile nodes. See

 ’330 Patent (Ex. C) at 3:10-18 (“…while the mobile node wirelessly communicates with at least

 one of the wireless nodes”), 22-24 (“…each of the wireless nodes can include a wireless access

 point having an antenna and a variable attenuator”), 4:33-37 (“It will be readily appreciated by

 those of ordinary skill in the art that the mobile nodes 125 can be implemented as any suitable

 computing device having a wireless transceiver capable of communicating wirelessly with the

 wireless nodes 105.”). The only logical reading of the term in the context of the specification is



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 that “wireless” modifies “node.” Thus, the only proposed construction that is consistent across

 both terms—which both parties agree should be given the same construction—is “an element of a

 network that sends and receives signals wirelessly.”

        Mobility’s proposed construction is, consistent with its proposed construction for

 “wireless,” an attempt to expand the scope of this term far beyond the meaning ascribed to it in

 the specification. Mobility’s proposed construction would result in a “wireless node”

 encompassing any “element” in a wireless network that sends and receives signals. Under this

 interpretation, Mobility would be able to point to virtually everything in a “wireless network” as

 being a “wireless node.” Mobility’s proposed construction is overbroad and should be rejected.

                3.     “emulator” (claims 1, 2, 5, 11, 16)

     Mobility’s Proposed Construction                 AT&T’s Proposed Construction
  Plain and ordinary meaning                  “a system or device (either hardware, software, or
                                              both) that imitates, models or simulates the
                                              conditions, acts or functions of a real-world event,
                                              system device, or condition”

        An emulator, in the context of the ’330 Patent, is “a system or device (either hardware,

 software, or both) that imitates, models or simulates the conditions, acts or functions of a real-

 world event, system device, or condition.” See Motorola JCCS (Ex. I) at 1.

        Mobility’s statements in its Brief confirms the accuracy of AT&T’s proposed construction.

 Mobility agrees that an emulator can be either hardware or software. Brief at 15. It agrees that it

 emulates the conditions of a real-world, wired communication network. Id. In fact, Mobility does

 not seem to challenge any aspect of the substance of AT&T’s proposed construction, and instead

 just suggests that the Court need not provide a specific construction. AT&T respectfully disagrees.

 The claims of the ’330 Patent recite both a component required “to simulate” certain attributes and




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 an “emulator.” AT&T believes that, in the absence of a substantive dispute regarding its

 construction, the jury would benefit from clarification by the Court on the meaning of “emulator.”

                4.      “emulating”/“emulate”/“emulated”/“emulates” (claims 1, 2, 8, 11, 17,
                        19)

     Mobility’s Proposed Construction                  AT&T’s Proposed Construction
  Plain and ordinary meaning                   “the act of imitating, modeling or simulating the
                                               conditions, acts or functions of a real-world event,
                                               system, device, or condition”

        AT&T submits that the proposed construction of these terms is tied to the Court’s

 construction of “emulator,” and should rise-or-fall with that term. See Motorola JCCS (Ex. I) at 1.

                5.      “mobile node configured to wirelessly communicate”/“mobile node
                        wirelessly communicates” (claims 1, 11)

    Mobility’s Proposed Construction         AT&T’s Proposed Construction
  “a device that can send and receive “a device that sends and receives signals
  wireless signals”                   wirelessly”

        The Motorola court analyzed this term in detail and adopted the same construction that

 AT&T proposes. Motorola Order (Ex. D) at 5. In addition, Mobility agreed in the Verizon Case

 that the term should be given the construction that AT&T proposes. Verizon Case JCCC (Ex. M)

 at 10. This Court adopted that construction on the basis of Mobility’s representation, thus Mobility

 is judicially estopped from advocating for a different construction. See Verizon Order (Ex. F) at 7.

        Nonetheless, AT&T’s proposed construction reflects that plain and ordinary understanding

 of what it means to “wirelessly communicate.” Namely, for the reasons addressed above with

 respect to the term “wireless,” a person of ordinary skill would readily understand that wirelessly

 communicating means communicating without wires or cables, and only through air or a vacuum.

 Proctor Dec., ¶¶ 63-66. In numerous instances, the specification makes clear that the wireless

 communication is between a mobile node and the one or more wireless nodes. See, e.g., ’330 Patent

 (Ex. C) at 2:23-25 (“According to one embodiment of the present invention, a mobile node can be



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 configured to wirelessly communicate with an application via one or more wireless nodes.”), 3:13-

 14 (“…while the mobile node wirelessly communicates with at least one of the wireless nodes…”).

 Figure 1 confirms that the communication between the mobile node and the wireless network node

 is wireless:




         There is no support for Mobility’s proposed construction, which attempts to open the door

 to wired communications being wireless communications. Specifically, by moving the term

 “wireless” to modify the signals as opposed to how they are sent and received, Mobility is

 attempting to argue that a signal that uses a “wireless format”—even if sent over wires—is a

 “wireless signal.” This is antithetical to the plain and ordinary meaning of “wireless

 communication,” and should be rejected in favor of AT&T’s proposed construction.

                6.     “a packet-based wired communications network” (claims 1, 11)

     Mobility’s Proposed Construction                 AT&T’s Proposed Construction
  “a communications network in which IP       “a communications network in which packets of
  packets of data are transmitted through     data are transmitted through wires or cables”
  wires or cables”

         The Motorola court analyzed this term in detail and adopted the same construction that

 AT&T proposes. Motorola Order (Ex. D) at 6-7. In addition, Mobility agreed in the Verizon Case

 that the term should be given the construction that AT&T proposes. Verizon Case JCCC (Ex. M)



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 at 11. This Court adopted that construction on the basis of Mobility’s representation, thus Mobility

 is judicially estopped from advocating for a different construction. See Verizon Order (Ex. F) at 7.

        The only disagreement between the parties on this term is whether the packets must be “IP

 packets”; AT&T’s proposed construction is agnostic, whereas Mobility seeks to narrow the

 packets to only “IP packets.” Mobility does not identify a single piece of intrinsic evidence that

 supports limiting the packets to “IP packets.” It cites to one passage of the ’330 Patent, but that

 passage does not contain or reference the word “packet,” nor does it support the conclusion that

 the “packets” of the “packet-based wired communications network” must specifically be “IP

 packets.” The Court should decline Mobility’s request to narrow the agreed upon portion of the

 parties’ construction, and should adopt AT&T’s proposed construction.

                7.      “wireless communication conditions” (claims 1, 11)

     Mobility’s Proposed Construction                   AT&T’s Proposed Construction
  Plain and ordinary meaning                    Indefinite

        The phrase “wireless communication conditions” does not appear in the specification of

 the ’330 Patent, and there is nothing in the intrinsic evidence that sheds any light on what the

 “wireless communication conditions” are and how, if at all, they differ from the claimed “wireless

 communication characteristics.” A person of ordinary skill in the art is left to guess at what might

 constitute a “wireless communication condition” and how controlling “wireless communication

 characteristics” might “simulate” those conditions. Proctor Dec., ¶¶ 67-70. Without any guidance

 or explanation from the specification, the patent fails to inform a person of ordinary skill in the art

 what the patentee considers to be the scope of the invention, and it is invalid. Id. at ¶ 70.

        Mobility’s efforts to save the validity of the claims actually highlights the problem.

 Mobility cites to column 6, lines 59-65, and emphasizes certain language, but that language sheds

 no light on what the “wireless communication conditions” might be. Mobility emphasizes



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 “conditions,” but that is discussing the actions of the “emulator,” which is not associated with the

 “wireless communication conditions” in the claims. Instead, it is the “controller” that

 “simulates…different wireless communication conditions.” See Claim 1. Mobility also

 emphasizes language about emulation of the movement of the mobile node, but claims 1 and 11

 make clear that the “wireless communication conditions” are what is “experienced by said at least

 one mobile node.” “[T]rajectory, speed, and/or acceleration of a mobile node” relate to movement

 of a mobile node, not “wireless communication conditions.” Mobility cannot point to anything in

 the specification that would clearly explain to a person of ordinary what this phrase means, thus

 the claim is indefinite.

                 8.         “home agent” (claims 2, 11, 16)

     Mobility’s Proposed Construction                    AT&T’s Proposed Construction
  Plain and ordinary meaning                     “a device (or program) that maintains
                                                 information about a mobile device’s current
                                                 location”

         AT&T proposes the agreed construction for “home agent” from the Motorola Case. The

 specification of the ’330 Patent explains that the claimed “home agent” comprises a device or

 program that communicates with the mobile node. For example, the specification provides that a

 “home agent” “can be a computing environment with which the mobile node 125 can communicate

 via the wireless and wired portions of system 100” or that the “home agent” may comprise “one

 or more application programs which the mobile node 125 can access, a virtual private network

 (VPN) configuration, virtual environment, or the like.” ’330 Patent at 6:3-9; see also id. at Fig. 2.

         The parties agreed in the Motorola Case that the term would be understood by a person of

 ordinary skill in the art to be limited to a device or program that specifically maintains information

 about a mobile device’s current location. See Motorola Case at Dkt. 35 at 34 (Ex. H); id.at Dkt. 44

 (Ex. I). For example, the plaintiff in the Motorola Case cited an industry definition for “home



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 agent” as providing: “In Mobile Internet Protocol (Mobile IP), a home agent is a router on a

 mobile node’s home network that maintains information about the device’s current location, as

 identified in its care-of address.” Motorola Case, Dkt. 35 (Ex. H) at 34 (emphasis in original).

 Similarly, the plaintiff also cited certain Network Working Group Requests for Comments as

 providing that a “home agent” is “[a] router on a mobile node’s home network which tunnels

 datagrams for delivery to the mobile node when it is away from home, and maintains current

 location information for the mobile node.” Id. (emphasis in original).

        A person of ordinary skill in the art would understand the term pursuant to the definitions

 provided by Mobility’s predecessor-in-interest, and the same construction that was agreed

 previously should be entered here.

                9.     “wireless access point” (claims 5, 6, 14)

     Mobility’s Proposed Construction                 AT&T’s Proposed Construction
  Plain and ordinary meaning                  “device that communicates a wireless protocol
                                              signal wirelessly”

        The dispute for this term focuses on whether a “wireless access point” must only

 communicate wirelessly. This is the same straw man argument that Mobility raised regarding the

 term “wireless.” AT&T is not advocating that a “wireless access point” cannot have any wires, but

 rather that it is something that is configured to communicate wirelessly. The portions of the

 specification that Mobility cites confirms that the communications between a “wireless access

 point” and a mobile device is over the air through an antenna. Brief at 20. Mobility’s deliberately

 obtuse read of AT&T’s construction is not a reason to strip the term “wireless access point” of the

 word “wireless,” and AT&T’s proposed construction should be adopted.




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                 10.     “attenuator”/“attenuating” (claims 5–8, 14, 17–19)

     Mobility’s Proposed Construction                    AT&T’s Proposed Construction
  Plain and ordinary meaning                     “a device that can increase or decrease the level
                                                 of a signal”

         AT&T’s proposed construction is consistent with the specification and provides specificity

 that will assist the fact finder in evaluating the case. For example, the specification of the ’330

 Patent provides:

         The controller can be configured to dynamically adjust the wireless communication
         characteristics of one or more of the wireless access points by varying an amount
         of attenuation provided by the attenuators to simulate motion of one or more of the
         mobile nodes. For example, attenuation provided by at least one of the attenuators
         can be increased while simultaneously decreasing attenuation provided by
         another one of the attenuators. The controller can dynamically adjust the amount
         of attenuation provided by at least two of the attenuators to emulate at least one
         mobile network characteristic such as speed, acceleration, and/or trajectory of the
         mobile node.

 ’330 Patent (Ex. C) at 2:59-3:3. The specification also makes it clear that the attenuation provided

 by an attenuator can be increased or decreased:

         For example, by increasing the amount of attenuation provided by an attenuator
         145, the power delivered from a wireless access point 130 to an attached antenna
         140 for transmission as well as the power of a signal received by an antenna 140
         that is delivered to the wireless access point 130 can be reduced. Decreasing the
         amount of attenuation allows the wireless access point 130 to deliver increased
         power to an attached antenna 140 for transmission as well as receive higher power
         signals from the attached antenna 140.

 Id. at 5:17-25. Thus, AT&T’s proposed construction accurately reflects the express disclosures of

 the ’330 Patent that the attenuators may increase or decrease the level of a signal.

         Mobility’s response to this is, at best, confusing. It states that “‘attenuation’ cannot increase

 the level of a signal” right before it states that “[w]hile it is trye [sic] that, ‘[a]n attenuator is a

 device that increases and decreases signal power from a source’.” Regardless, the specification

 makes clear that the claimed attenuator can increase and decrease the level of a signal by changing

 the attenuation level, which is consistent with AT&T’s proposed construction.


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                11.     “antenna” (claims 5, 10, 14)

     Mobility’s Proposed Construction                   AT&T’s Proposed Construction
  Plain and ordinary meaning                    “an electrical device that radiates electromagnetic
                                                waves wirelessly”

        Mobility’s only dispute with respect to this term appears to be its assertion that an

 “antenna” can radiate and sense electromagnetic waves. Brief at 20-21. AT&T can agree to modify

 its construction of “antenna” to be “an electrical device that radiates and senses electromagnetic

 waves wirelessly.” With that modification, it appears that the parties are in agreement on the

 construction of this term.

                12.     “variable attenuator comprises a plurality of variable attenuators”
                        (claim 7)

     Mobility’s Proposed Construction                   AT&T’s Proposed Construction
  Plain and ordinary meaning                    Indefinite

        This term fails to inform one of ordinary skill of the scope of the claims, and is thus invalid.

 The dispute with respect to this term is not whether the specification discloses the use of multiple

 attenuators in the claimed system: it does. But what the specification does not disclose, and what

 makes no sense, is what it means for a “variable attenuator” to “comprise[] a plurality of variable

 attenuators.” If the patentee wanted to simply claim a system with more than one variable

 attenuator, the way to do that would have been to draft a claim that read “The system of claim 6,

 wherein the system comprises a plurality of variable attenuators.” This is not what happened,

 however. Instead, the patentee elected to require that the “variable attenuator comprises a plurality

 of variable attenuators.”

        The claim, as drafted makes no sense; it is illogical that a piece of hardware such as an

 attenuator can be made up of multiple attenuators. Proctor Dec., ¶¶ 71-72. While there are technical

 situations where this could be conceivable—such as a composite electromagnetic wave that is

 made up of multiple component waves—it makes no sense in the context of attenuators. Id. As


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 such, one of ordinary skill in the art would not understand what the scope of the claim is. Proctor

 Dec., ¶ 73.

        The Federal Circuit has previously held claims to be indefinite where the claims were

 internally inconsistent. See, e.g., Trustees of Columbia University in City of New York v. Symantec

 Corp., 811 F.3d 1359 (Fed. Cir. 2016) (holding claims indefinite because they nonsensically

 “describe[d] the step of extracting machine code instructions from something that does not have

 machine code instructions”); Synchronoss Techs., Inc. v. Dropbox, Inc., 987 F.3d 1368, 1366-67

 (Fed. Cir. 2021) (holding claims indefinite where the claims required a single digital media file

 comprise a directory of digital media files). For example, in Synchronoss, the asserted claims

 required “generating a [single] digital media file” that itself simultaneously “compris[es] a

 directory of digital media files.” 987 F.3d at 1366. The patentee contended that a POSITA “would

 read the specification and reasonably understand that the inventions ‘mean that, in response to

 input from a user, a digital media file is generated as a second, updated version of the media data

 in the same format as the first version of the media data.’” Id. The Federal Circuit held that “the

 asserted claims of the ’466 Patent are nonsensical and require an impossibility – that the digital

 media file contain a directory of digital media files.” Id. at 1366-67. The Federal Circuit also

 rejected the patentee’s proposed reading of the claims, as the proposal “would [have] require[d]

 rewriting the claims” and “it is not [the Court’s] function to rewrite the claims to preserve their

 validity.” Id. at 1367 (internal quotations omitted, quoting Allen v. Eng’g Corp. v. Bartell Indus.,

 Inc., 299 F.3d 1336, 1349 (Fed. Cir. 2002)).

        This is not a term that can be “redrafted” in claim construction to resolve the indefiniteness

 issue. As noted by the Federal Circuit:

        This court has repeatedly held that courts may not redraft claims to cure a drafting
        error made by the patentee, whether to make them operable or to sustain their



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        validity. Chef Am., Inc. v. Lamb-Weston, Inc., 358 F.3d 1371, 1373 (Fed. Cir.
        2004); Allen Eng'g Corp. v. Bartell Indus., Inc., 299 F.3d 1336, 1349 (Fed. Cir.
        2002); Process Control Corp. v. HydReclaim Corp., 190 F.3d 1350, 1357 (Fed. Cir.
        1999); Quantum Corp. v. Rodime, PLC, 65 F.3d 1577, 1584 (Fed. Cir. 1995);
        Hoganas v. Dresser Indus., Inc., 9 F.3d 948, 951 (Fed. Cir. 1993). To do so “would
        unduly interfere with the function of claims in putting competitors on notice of the
        scope of the claimed invention.” Hoganas, 9 F.3d at 951.

 Lucent Techs., Inc. v. Gateway, Inc., 525 F.3d 1200, 1215 (Fed. Cir. 2008). There is no way to

 construe this term such that it is valid without redrafting the claim, which is impermissible. As

 such, the term and the claim are invalid.

 VI.    CONCLUSION

        The Court should adopt AT&T’s claim construction positions.



  Dated: April 16, 2024                      Respectfully submitted,

                                             /s/ Ross R. Barton
                                             Theodore Stevenson, III (TX Bar No. 19196650)
                                             Darlena Subashi (NC Bar No. 53142)
                                             ALSTON & BIRD LLP
                                             Chase Tower
                                             2200 Ross Avenue, Suite 2300
                                             Dallas, TX 75201
                                             Telephone: (214) 922-3400
                                             Facsimile: (214) 922-3899
                                             Email: ted.stevenson@alson.com
                                             Email: darlena.subashi@alston.com

                                             Ross R. Barton (NC Bar No. 37179)
                                             ALSTON & BIRD LLP
                                             101 South Tyron Street, Suite 4000
                                             Charlotte, North Carolina, 28280
                                             Phone: (704) 444-1000
                                             Facsimile: (704) 444-1111
                                             Email: ross.barton@alston.com

                                             David S. Frist (GA Bar No. 205611)
                                             Shaleen J. Patel (GA Bar No. 295554)
                                             ALSTON & BIRD LLP
                                             One Atlantic Center
                                             1201 West Peachtree Street, Suite 4900


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                                              Atlanta, GA 30309
                                              Telephone: (404) 881-7000
                                              Facsimile: (404) 881-7777
                                              Email: david.frist@alston.com
                                              Email: shaleen.patel@alston.com

                                              Wade Perrin (NY Bar No. 5346531)
                                              ALSTON & BIRD LLP
                                              90 Park Avenue 15th Floor
                                              New York, NY 10016
                                              Telephone: (212) (210-9400
                                              Facsimile: (212) 210-9400
                                              Email: wade.perrin@alston.com

                                              Attorneys for Defendants AT&T CORP., AT&T
                                              MOBILITY LLC, AND AT&T SERVICES, INC


                                      CERTIFICATE OF SERVICE

           I hereby certify that on the 16th day of April 2024, I electronically filed the foregoing

   with the Clerk of the Court using the CM/ECF system, which will send notification of such

   filing to all counsel of record.


                                               /s/ Ross R. Barton
                                               Ross R. Barton




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